

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,191-01






EX PARTE RAYMOND JOSEPH ROY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 99-CR-1289-D IN THE 103rd DISTRICT COURT
FROM CAMERON COUNTY 





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of the offense of
possession of a controlled substance with intent to deliver and sentenced to imprisonment for fifteen
years years. 

	On February 6, 2013, an order designating issues was signed by the trial court.  The habeas
record has been forwarded to this Court prematurely.  We remand this application to the 103rd
District Court of Cameron County to allow the trial judge to complete an evidentiary investigation
and enter findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: March 27, 2013

Do not publish 


	


